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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        File No. 1:04-CR-165
v.
                                                        HON. ROBERT HOLMES BELL
JANET MAVIS MARCUSSE,
DONALD MAYNARD BUFFIN,
JEFFREY ALAN VISSER,

              Defendants.
                                            /

                                      OPINION

       Defendants Janet Mavis Marcusse, Donald Maynard Buffin, and Jeffrey Alan Visser

have each filed a motion for judgment of acquittal. The Government has filed a response

opposing each motion.       The Court has reviewed Defendants' motions as well as the

Government's response and has concluded that Defendants' motions lack merit. Accordingly,

the motions for judgment of acquittal are denied.

                                                I.

       The criminal charges against Defendants Marcusse, Buffin, and Visser stem from their

operation of and participation in an investment company called Access Financial. Marcusse

was the co-founder and leader of the organization, Buffin was a sales manager and eventually

office manager, and Visser initially worked as a computer technician before becoming a sales

representative and officer manager with Buffin.
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       Defendants, along with five other co-defendants attracted investors to Access

Financial through various oral and written representations. Each Defendant told investors

at various times that: 1) Access Financial was making large profits through legitimate, secret

financial markets; 2) the investor's principal was secure and subject to little or no risk; 3) that

Access was a legitimate 401k or IRA rollover company; and 4) that they could purchase a

"church chapter package," consisting of a bank account in the church chapter name. This

account would then be used to avoid income tax on the monthly "interest" checks the

investors received.

       The evidence presented at trial also showed that these representations were false. The

high-yield "secret" investment markets did not exist, the monthly "interest" checks were paid

from other investors' funds, not from legitimate investments, Access Financial did not handle

retirement funds in a legal manner, Defendants spent the investors' funds through personal

purchases, and the "church chapter package" was a vehicle for defrauding the Internal

Revenue Service of approximately $1.6 million in income tax revenue.

       All told, Defendants collected approximately $20.7 million from 577 investors.

Defendants used approximately $8.4 million of the $20.7 million to make fake "interest"

check payments giving the appearance of a successful investment company. Defendants

spent the remainder on themselves or exhausted it through transactions which did not

generate a return to investors.




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       Defendants and their co-conspirators were indicted in an eighty-three count indictment

charging them with mail fraud, money laundering, conspiracy to defraud the United States,

conspiracy to commit mail fraud, and conspiracy to commit money laundering. On June 14,

2005, after a four week trial, the jury returned guilty verdicts against each Defendant on all

counts.1

                                             II.

       A motion for judgment of acquittal pursuant to Federal Rule of Criminal Procedure

29 is "a challenge to the sufficiency of the evidence." United States v. King, 169 F.3d 1035,

1038 (6th Cir. 1999) (quoting United States v. Jones, 102 F.3d 804, 807 (6th Cir. 1996)).

The Court must view the evidence and all reasonable inferences therefrom in the light most

favorable to the Government. United States v. Crossley, 224 F.3d 847, 855 (6th Cir. 2000)

(quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)). Consequently, a defendant

claiming insufficiency of the evidence must overcome a heavy burden. United States v.

Wright, 16 F.3d 1429, 1439 (6th Cir. 1994) (quoting United States v. Vannerson, 786 F.2d

221, 225 (6th Cir. 1986)). A defendant's convictions must be upheld if "any rational trier of

fact could have found the elements of the offense beyond a reasonable doubt." United

States v. Johnson, 71 F.3d 539, 542 (6th Cir. 1995) (quoting United States v. Riffe, 28 F.3d

565, 567 (6th Cir. 1994)). Circumstantial and direct evidence are afforded the same weight,




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       Prior to the completion of the trial, Defendants David Rex Albrecht, Diane Renae
Boss, and Wesley Myron Boss each entered a guilty plea.

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and a jury's determination can be supported solely by circumstantial evidence. United

States v. Prince, 214 F.3d 740, 746 (6th Cir. 2000) (citing United States v. Blakeney, 942

F.2d 1001, 1010 (6th Cir. 1991); United States v. Griffith, 17 F.3d 865, 872 (6th Cir. 1994)).

Defendants have challenged the sufficiency of the evidence for conviction on each count

against them. The Court will address the sufficiency of the evidence as to each Defendant

under each count in turn.

A.     Counts 1-39 Mail Fraud

       A conviction for mail fraud requires proof of the following three elements: 1) devising

or intending to devise a scheme to defraud; 2) involving a use of the mails; and 3) for the

purpose of executing the scheme or attempting to do so. United States v. Frost, 125 F.3d

346, 354 (6th Cir. 1997). Proof of a specific intent to defraud is required to convict a

defendant of mail fraud. Id. (quoting American Eagle Credit Corp. v. Gaskins, 920 F.2d 352,

353 (6th Cir. 1990). Defendant Marcusse contends that the evidence was insufficient to

prove intent to defraud. Defendants Buffin and Visser argue the evidence was not sufficient

to prove that they knew the "interest" checks mailed to investors were not interest from

legitimate investments.

       The evidence at trial showed that Defendants were actively involved in operating and

promoting a scheme in which investors were promised high-yield investments, with virtually

no risk to their principal investment, and were offered a vehicle through which their

investment returns were shielded from income tax liability (the church chapter bank



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accounts). These representations were false. In reality, Access Financial was a Ponzi

scheme in which investors were paid "interest" checks from other investors' funds. The

remainder of the investor funds collected were spent by Defendants. The Sixth Circuit has

previously held that the question of intent to defraud in a Ponzi scheme "is not debatable."

Conroy v. Shott, 363 F.2d 90, 92 (6th Cir. 1966); see also In re Indep. Clearing House Co.,

77 B.R. 843 (D. Utah 1987) (finding intent to defraud from "mere fact that a debtor was

running a Ponzi scheme."). Thus, the jury could reasonably infer an intent to defraud on the

part of Defendants from their operation of a Ponzi scheme.

       Additionally, each Defendant played a significant role in the operation of the fraud.

Numerous witnesses testified that at various times Defendants Marcusse, Buffin, and Visser

each made false representations to them about the success, safety, and legality of the Access

Financial investments as well as the "church chapter" accounts. With regard to Defendant

Buffin, the evidence showed that he was listed as a sales manager for a large portion of the

investor pool and that he told investors that investment returns from Access Financial were

tax free because Access was a "church." In addition, Buffin received thousands of dollars

of investor funds which he converted to his own use and failed to report on his income tax

returns. Buffin also used the newsletters, "interest" checks, and church chapter accounts to

promote Access Financial. Finally, Buffin also served as office manager beginning in May

2001. In this position he reassured investors that monthly "interest" checks would be




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forthcoming, while he continued to receive new investor funds and convert them to his, and

his co-defendants, own use.

       With regard to Defendant Visser, he also served as sales manger for a number of

investors and actively promoted the scheme. He also received investor funds which he

converted to his own use without any accounting or records detailing the transfers. In

addition, Visser also served as office manager with Buffin. During this time, Visser solicited

and received new investor funds which he converted to his own use. Visser also assisted in

producing the last newsletters during the collapse of Access Financial. Buffin, Visser, and

Marcusse also submitted several frivolous pleadings in an attempt to forestall the grand jury

investigation into Access Financial.

       Finally, the jury also viewed portions of a two-day seminar in which each Defendant

can be seen and heard attempting to create the image of a successful financial company.

Defendant Marcusse is prominently featured in the seminar falsely stating that investors'

funds were placed in high yield, low risk investment vehicles. Buffin and Visser also can be

seen and heard at the seminar falsely reassuring investors that Access Financial was earning

large profits and that their principal was safe.

       From this evidence, the jury could reasonably conclude that Defendants participated

in the fraudulent investment scheme with the intent to defraud and with knowledge that the

"interest" checks mailed to investors were not, in fact, interest from investments.




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B.     Count 40 Conspiracy to Commit Mail Fraud

       In order to convict a defendant of conspiracy to commit mail fraud, the Government

must prove "defendant knowingly and willfully joined in an agreement with at least one other

person to commit an act of mail fraud and that there was at least one overt act in furtherance

of the agreement."     United States v. Cantrell, 278 F.3d 543, 546 (6th Cir. 2001).

Circumstantial evidence that a reasonable person could interpret as showing participation in

a common plan may be used to establish the existence of a conspiracy agreement. Id.

       The Court finds that there was sufficient evidence from which a rational juror could

have found that Defendants conspired together with each other, and others, to use the mails

to defraud investors. In addition to the evidence outlined above regarding mail fraud, the

jury also heard testimony that Defendants and their co-defendants operated Access Financial

in a relatively close association with each other. Defendant Marcusse was the founder and

"partner" in the company, along with Defendant George Terrance Besser. Buffin, Visser,

Wesley Myron Boss, and Richard Muma were sales managers. Defendant Diane Renae Boss

as well as Buffin and Visser acted as office managers during the scheme.              Finally,

Defendants David Rex Albrecht and William Edward Flynn worked as paid sales

representatives. The evidence also showed that through false newsletters, "interest" checks,

fraudulent "church chapter" accounts, and the May 2001 seminar, Defendants worked in

agreement together to promote the image of a successful investment company. Further, the

evidence clearly demonstrated that the use of the mails was an integral part of this scheme.



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Defendants used the mails to send fraudulent monthly "interest" checks, newsletters, and

promotional materials on the "church chapter" accounts.

       The jury also heard evidence that Defendants used multiple bank accounts as joint

signatories, purchased assets and insurance using false tax returns and financial records

prepared by one of the co-defendants, converted large sums of investor funds to their own

use with no accountability or records of the transfers, established fraudulent "church

chapters," and failed to report as income on their tax return any money received from Access

Financial. In addition, Defendants also signed checks, investor forms, and church chapter

forms claiming to be representatives of Access Financial.

       From this evidence, the jury could conclude that Defendants Marcusse, Buffin, and

Visser, along with their co-defendants, acted in concert and agreement with each other in a

conspiracy to commit mail fraud.

C.     Count 41 Conspiracy to Commit Money Laundering

       Defendants also contend that the evidence was insufficient to show that they conspired

with anyone to commit money laundering. Defendants were convicted of money laundering

conspiracy pursuant to 18 U.S.C. § 1956(h). To be guilty of this crime, the government had

to prove beyond a reasonable doubt that: 1) two or more persons came to a mutual

understanding to try to accomplish a common and unlawful plan to violate § 1956; and 2)

Defendants knowingly and voluntarily joined the conspiracy. See United States v. Meshack,

225 F.3d 556, 573-74 (5th Cir. 2000), overruled on other grounds by United States v. Cotton,



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535 U.S. 625 (2002). The government is not required to prove an overt act in order to obtain

a conviction under § 1956(h). See United States v. Bolden, 325 F.3d 471, 491 (4th Cir.

2003). The evidence outlined above regarding Defendants' conspiracy to commit mail fraud

also applies to this charge and demonstrates Defendants' agreement to promote Access

Financial as a legitimate, successful investment company.

       In addition, the jury also heard testimony that Defendants, along with at least one or

more co-defendants, shuffled investor funds through multiple bank accounts, promulgated

false income tax returns and financial documents in order to conduct transactions with

investor funds, used multiple, layered financial transactions to purchase assets with investors'

funds, and issued "interest" checks to give the appearance of a successful investment

company. From this evidence, the jury could reasonably infer that Defendants and at least

one other co-defendant entered into an agreement to conduct a financial transaction to

promote the fraudulent investment scheme and/or to conceal or disguise the nature, location,

source, ownership, or control of proceeds from the fraudulent investment scheme. See 18

U.S.C. § 1956(a)(1)(A)(i); (a)(1)(B)(i).

D.     Count 42 Conspiracy to Defraud the United States

       Defendants contend that the evidence was insufficient to establish that they knowingly

and willfully conspired together, or with others, to defraud the United States. The elements

of this crime include: 1) an agreement between two or more people to accomplish an illegal

objective against the United States; 2) one or more overt acts in furtherance of the illegal



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 purpose; and 3) intent to commit the substantive offense (impairing the function of the IRS).

 See 18 U.S.C. § 371; United States v. Douglas, 398 F.3d 407, 413 (6th Cir. 2005); United

 States v. Collins, 78 F.3d 1021, 1038 (6th Cir. 1996).

        In this case, there was sufficient evidence from which the jury could conclude that

 Defendants Marcusse, Buffin, and Visser conspired with at least one other co-defendant to

 defraud the IRS. Each Defendant received large sums of investor funds without any

 accounting or records detailing the transfers. These funds were then used for their own day-

 to-day expenses. Defendants set up non-interest bearing accounts in the name of churches

 specifically to shield their receipt of investor funds from the IRS. In particular, Buffin

 established two such accounts in his own name and Visser set up two accounts known as

 Parkside Ministries and Ridgeview Ministries. Investor funds placed in these accounts were

 used for each Defendant's personal benefit. In addition, none of the money placed in these

 accounts was reported to the IRS.

        Defendants, however, did create fraudulent tax returns and other tax forms when

 attempting to obtain personal loans or insurance coverage. Defendants also engaged in

 multiple, layered financial transactions to purchase personal items using investor funds.

 Defendants also advocated illegal interpretations of the income tax laws in their newsletters

 to investors as well as during the May 2001 seminar. Defendant Marcusse, in particular, can

 be seen at the seminar advocating various illegal income tax avoidance methods.




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          From this evidence, the jury could reasonably conclude that Defendants knowingly

 and willfully conspired together to impede the function of the IRS in violation of 18 U.S.C.

 § 371.

 E.       Counts 43-57 "Promotion" Money Laundering

          These counts of the indictment address fifteen of the monthly "interest" checks sent

 to investors. Defendants assert that the evidence was insufficient to show that they knew the

 checks mailed to investors were the proceeds of unlawful activity and that the checks were

 intended to promote an unlawful activity. In order to prove the promotion version of money

 laundering, the Government needed to establish the following elements: 1) defendant

 conducted a financial transaction involving the proceeds of unlawful activity; 2) defendant

 knew the property involved was proceeds of unlawful activity; and 3) defendant intended to

 promote that unlawful activity. United States v. McGahee, 257 F.3d 520, 526 (6th Cir. 2001)

 (quoting United States v. King, 169 F.3d 1035, 1039 (6th Cir. 1999)).

          The jury could reasonably conclude Defendants knew the "interest" checks were the

 proceeds from the mail fraud scheme run under the auspices of Access Financial. Further,

 there was sufficient evidence to conclude that Defendants intended to use the "interest"

 checks to promote the scheme. As outlined more fully above, Access Financial operated as

 a Ponzi scheme, funds from later investors were used to pay "interest" checks to early

 investors, thus giving the appearance of a legitimate investment company. This evidence

 demonstrates an intent to promote the scheme. See United States v. Reed 167 F.3d 984 (6th



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 Cir. 1999) (using proceeds from illegal activity to facilitate a scheme is sufficient to satisfy

 "intent to promote"); United States v. Masten, 170 F.3d 790, 797-98 (7th Cir. 1999) (holding

 that evidence was sufficient to support conviction under 18 U.S.C. § 1956(a)(1)(A) where

 defendant paid earlier investors with money received from new investors). The jury also

 heard numerous investors testify that the payment of the "interest" checks was a significant

 inducement to making an initial investment with Access Financial or to adding to their initial

 investment.

        From this evidence, coupled with each Defendant's position within Access Financial,

 the jury could infer that Defendants Marcusse, Buffin, and Visser knew that the "interest"

 checks mailed to investors were the proceeds of the mail fraud scheme and that the monthly

 issuance of the checks served "to promote the carrying on" of the scheme. See 18 U.S.C.

 § 1956(a)(1)(A)(i). M arcusse was the leader of the operation and the jury could certainly

 conclude that she was in a position to know that the "interest" checks were the proceeds of

 the scheme and that the representations she made regarding Access Financial were false.

 Defendants Buffin and Visser, as well were positioned within the organization such that the

 jury could infer that they knew the "interest" checks were paid from investor funds, not actual

 investments. Specifically, Buffin and Visser both worked as sales managers and office

 managers of Access Financial. From these positions Buffin and Visser actively promoted

 investment in Access Financial. In fact, while working as office managers, both Buffin and

 Visser received new investor funds and converted them to their own use.



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        From this evidence it was reasonable for the jury to conclude that Defendants knew

 the "interest" checks were not from legitimate investment activity. Moreover, from their

 position in the company, it could be inferred that Buffin and Visser knew that the continual

 issuing of "interest" checks was a vital part of maintaining the appearance of a legitimate

 investment company. Accordingly, the evidence was sufficient to satisfy the elements of

 promotion money laundering against Defendants Marcusse, Buffin, and Visser.

 F.     Count 58 Money Laundering

        This count charged Defendant Marcusse with money laundering in connection with

 a $69,400 check which was used as a down payment on the purchase of her home. The

 government was required to prove the following elements: 1) defendant knowingly engaged

 or attempted to engage in a monetary transaction; 2) that defendant knew the transaction

 involved criminally derived property; 3) the value of the property was greater than $10,000;

 and 4) the property was derived from a specified unlawful activity. See 18 U.S.C. § 1957(a);

 United States v. Ables, 167 F.3d 1021, 1028-29 (6th Cir. 1999); United States v. Cherry, 330

 F.3d 658, 667 (4th Cir. 2003).

        Marcusse argues that the evidence did not show that she intended to conceal the nature

 of the proceeds of an unlawful activity. This is not an element of money laundering under

 18 U.S.C. § 1957. Marcusse misconstrues the Government's burden of proof on this count

 with the elements of concealment money laundering under 18 U.S.C. § 1956(a)(1)(B)(i). See

 McGahee, 257 F.3d at 526 (discussing the elements of "concealment" versus "promotional"



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 money laundering under 18 U .S.C. § 1956). In order to convict Marcusse of money

 laundering under this count the Government was not required to prove intent to conceal. See

 United States v. Haun, 90 F.3d 1096, 1100 (6th Cir. 1996). Accordingly, Marcusse's motion

 for judgment of acquittal is denied as to this count. 2

 G.     Counts 66-71 Concealment Money Laundering

        Counts 66 through 71 charged Defendants Buffin and Visser with money laundering

 in violation of 18 U.S.C. § 1956(a)(B)(i), the so-called "concealment version" of the money

 laundering statute. See McGahee, 257 F.3d at 526. Counts 66 through 68 charge Buffin with

 money laundering in connection with three transactions in which he deposited investor funds

 into his personal "church chapter" bank account, His Will Ministries. Counts 69 through 71

 charge Visser with the same crime stemming from three transactions in which he deposited

 investor funds into his personal "church chapter" account, Parkside Ministries.       Both

 Defendants argue the evidence was insufficient to show that the deposits were made to

 conceal the proceeds of illegal activity.




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         Even if the Court were to evaluate the evidence relevant to the elements of money
 laundering under 18 U.S.C. § 1957, Marcusse's motion would be denied. The jury heard
 evidence that the financial transaction addressed in Count 58 involved the purchase of
 Marcusse’s residence. This transaction was accomplished using false tax returns and
 employment records, as well as false documents purportedly specifying that the down
 payment on the home was a gift to co-defendant Diane Renae Boss from Marcusse. In
 addition, Boss posed as the purchaser of the home. In reality, when Boss was approved for
 the home loan and the closing occurred, Marcusse resided in the home and made the
 mortgage payments. This evidence was sufficient to support a conviction of money
 laundering.

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        The elements of concealment money laundering are: 1) use of funds that are proceeds

 of unlawful activity; 2) knowledge that the funds are proceeds of unlawful activity; and

 3) conduct or attempt to conduct a financial transaction, knowing that the transaction is

 designed in whole or in part to disguise the nature, location, source, ownership or control of

 the proceeds. Prince, 214 F.3d at 747. This type of money laundering is distinguished from

 promotion money laundering by the third prong, requiring the Government to prove

 Defendant knew the transaction was designed to conceal and disguise the nature, source,

 ownership, or control of the proceeds. McGahee, 257 F.3d at 526.

        In this case, the evidence was sufficient for the jury to conclude that Defendants

 Buffin and Visser acted with the requisite intent to conceal the nature of the proceeds of the

 investment scheme. As set forth above, Buffin and Visser both actively participated in a

 Ponzi scheme and represented that investors would receive large returns with very little risk.

 The proofs showed that this representation and many others detailed above were false. The

 money from investors was actually channeled through a variety of layered bank accounts and

 a significant portion was transferred to Buffin and Visser. Such activity has been held to be

 sufficient to support a money laundering conviction. See United States v. Hurley, 63 F.3d

 1, 12 (1st Cir. 1995) ("[Defendants] were involved in so many deposits and manipulative

 subdividings of funds that laundering was the only plausible explanation.").

        In total, over $4 million of the $20.7 million collected from investors was appropriated

 and used by the Defendants. Buffin and Visser, in particular, deposited investor's money in



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 each of their personal "church chapter" bank accounts, His Will Ministries and Parkside

 Ministries. The jury heard the following evidence: that the monetary transfers to Buffin and

 Visser were not accounted for in any financial records of Access Financial, that each

 Defendant, including Buffin and Visser, promoted the "church chapter" account as a method

 to avoid the IRS and income tax liability, that neither Defendant reported the receipt of the

 funds on their income tax returns, but did use the proceeds from these transactions on

 personal day-to-day expenditures, and that both Defendants attempted to obstruct the

 investigation into Access Financial's handling of the investor funds. Based upon these

 circumstances, the jury could conclude that Defendants Buffin and Visser deposited investor

 funds into their personal "church chapter" accounts in order to conceal the nature of the

 proceeds of the mail fraud scheme.

 H.      Counts 81-82 Concealment Money Laundering

        Counts 81 and 82 charge Defendant Marcusse and Defendant William Edward Flynn

 with concealment money laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(i). The

 elements of this crime are set forth in subsection G. Marcusse contends that the evidence

 was insufficient to show that she engaged in the financial transactions in order to conceal the

 nature of the proceeds of unlawful activity.

        The jury heard evidence that the two transactions charged in these counts of the

 superseding indictment stemmed from the purchase of an airplane purportedly by Flynn.

 Count 81 encompasses a $5,000 transaction used as a down payment on the airplane. Count

 82 is a monthly loan payment on the airplane made by Marcusse.

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         The jury heard testimony that Flynn purchased an airplane in April 2000 for $190,000.

 Flynn made an initial down payment of $5,000 using a check backed by investor funds. He

 obtained a loan to finance the remainder of the purchase price. In order to obtain the loan,

 false employment, investment, and tax records were created to give the appearance that Flynn

 had substantial income from Access Financial. In addition, Flynn testified that Marcusse

 directed Defendant Diane Renae Boss to prepare the false documents which enabled Flynn

 to obtain the credit for the purchase of the airplane. Further, the evidence also showed that

 Marcusse made one of the monthly loan payments with investor funds (Count 82). The

 evidence also showed that both Flynn and Marcusse were chauffeured in the plane between

 Wisconsin, Michigan, and Missouri on numerous occasions. Based upon the creation and

 use of fraudulent documents to obtain loan financing, as well as the use of investor funds to

 make the airplane loan payments, there was sufficient evidence from which the jury could

 infer that Marcusse engaged in the two transactions charged in Counts 81 and 82 with the

 intent to conceal the nature of the proceeds.

                                                 III.

         For the foregoing reasons, Defendants' motions for judgment of acquittal are denied.

 An order will be entered consistent with this opinion.




 Date:     September 22, 2005               /s/ Robert Holmes Bell
                                            ROBERT HOLM ES BELL
                                            CHIEF UNITED STATES DISTRICT JUDGE



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